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    1   Salil Bali (SBN 263001)
         sbali@sycr.com
    2   Matthew R. Stephens (SBN 288223)
    3    mstephens@sycr.com
        STRADLING YOCCA CARLSON &
    4   RAUTH, P.C.
        660 Newport Center Drive, Ste. 1600
    5   Newport Beach, CA 92660
    6   Tel. 949-725-4000

    7   Kal Shah (pro hac vice)
          kshah@beneschlaw.com
    8   Mircea A. Tipescu (pro hac vice)
          mtipescu@beneschlaw.com
    9   Simeon G. Papacostas (pro hac vice)
   10     spapacostas@beneschlaw.com
        Katherine A. Smith (pro hac vice)
   11     ksmith@beneschlaw.com
        BENESCH, FRIEDLANDER,
   12   COPLAN & ARONOFF LLP
   13   71 S. Wacker Drive, Suite 1600
        Chicago, IL 60606
   14   Telephone: 312-212-4949
        Facsimile: 312-767-9192
   15
        Attorneys for Defendant
   16   Feit Electric Company, Inc.
   17
   18                              UNITED STATES DISTRICT COURT

   19                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

   20    NICHIA CORPORATION,                      Case No. 2:20-cv-00359-GW-E
   21                     Plaintiff,              Hon. George H. Wu, Ctrm. 9D
   22    v.                                       Magistrate Judge: Charles F. Eick

   23    FEIT ELECTRIC COMPANY, INC.             *REDACTED* DEFENDANT FEIT
                                                 ELECTRIC’S NOTICE OF
   24                     Defendant.             MOTION AND MOTION TO
                                                 PRECLUDE ARGUMENTS IN THE
   25                                            OPENING EXPERT REPORT OF
   26                                            MR. MICHAEL GERSHOWITZ
                                                 THAT WERE NOT PREVIOUSLY
   27                                            DISCLOSED; MEMORANDUM IN
                                                 SUPPORT
   28


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    1
                                               Judge: Hon. George H. Wu
    2                                          Hearing Date: February 28, 2022
    3                                          Time:    8:30 a.m.
                                               Ctrm: 9D
    4
                                               Fact Disc. Cut-off: Nov. 9, 2021
    5                                          Expert Disc. Cut-off: Feb. 17, 2022
    6                                          Pretrial Conference: April 21, 2022
                                               Bench Trial: May 3, 2022
    7                                          Jury Trial: TBD
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    1           TO PLAINTIFF AND ITS ATTORNEYS OF RECORD HEREIN:
    2           PLEASE TAKE NOTICE that on Monday, February 28, 2021, at 8:30 a.m.,
    3   or as soon thereafter as counsel may be heard in Courtroom 9D of the above-
    4   captioned Court, located at 350 West 1st Street, Los Angeles, CA 90012, Defendant
    5   Feit Electric Company, Inc. (“Feit Electric”) will move the Court for an Order
    6   granting its Motion to Preclude Arguments in the Opening Expert Report Of Mr.
    7   Michael Gershowitz That Were Not Previously Disclosed.
    8           This Motion is made following the conferences of counsel pursuant to L.R. 7-
    9   3, which took place on or around December 29, 2021, at 3:00 p.m. Central Time, and
   10   on January 5, 2022, at 3:00 p.m. Central Time, between Plaintiff Nichia
   11   Corporation’s (“Nichia”) counsel, Robert P. Parker and Feit Electric’s Counsel Kal
   12   K. Shah. (See, January 31, 2022, Declaration of Kal K. Shah (“Shah Decl.”) at ¶¶ 5
   13   and 6). The Parties also engaged in discussions on January 27, 2022, and exchanged
   14   a series of emails attempting to find areas of compromise. Id. at ¶ 7. As the parties
   15   were unable to reach an agreement on the matters set forth herein, Feit Electric now
   16   raises them to the Court.
   17           This Application is based on this Notice, the attached Memorandum in support,
   18   the declaration of Kal K. Shah, the pleadings on file herein, and upon such other
   19   matters as may be presented to the Court in connection with this Motion.
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    1                      MEMORANDUM OF POINTS AND AUTHORITIES
    2   I.       INTRODUCTION
    3            On December 7, 2021, Plaintiff Nichia Corporation’s (“Nichia’s”) technical
    4   expert, Mr. Michael Gershowitz submitted an opening expert report (“Gershowitz
    5   Report”) that advances new and improper theories of infringement Nichia did not
    6   previously disclose during fact discovery. These theories include: (1) new opinions
    7   that contradict prior statements Nichia relied on to establish representativeness; (2)
    8   new opinions relating to the “a wavelength conversion member formed unitarily with
    9   a transparent member” that contradict prior representations Nichia made (as well as
   10   the Court’s construction) requiring the claimed member to be “a single component”;
   11   and (3) new claim charts for claims 23 and 26 of U.S. Patent No. 9,752,734 (“the ’734
   12   patent”) containing new theories of infringement.
   13            Nichia’s belated attempt to change its infringement theories this late in the case
   14   should not be condoned, as it violates both the letter and spirit of the Local Rules,
   15   which “require parties to crystalize theories of the case early in the litigation and to
   16   adhere to those theories once they have been disclosed.” KlausTech, Inc. v. Google
   17   LLC, 10-cv-05899-JSW (DMR), 2018 WL 5109383, at *8 (N.D. Cal. Sept. 14, 2018).
   18   Notably, these changes are not nominal or otherwise understandable shifts based on
   19   expert involvement such as, for instance, minor rearrangement (and narrowing) of
   20   previously disclosed prior art references and combinations. Rather, Nichia’s theories
   21   are either inconsistent with its prior positions or are totally new, in a way that both
   22   undermines Defendant’s discovery efforts to date and undoubtedly prejudices
   23   Defendant if permitted. Allowing Nichia to present brand-new infringement theories
   24   through its expert, well after the close of fact discovery, prejudices Feit Electric’s
   25   ability to prepare its defenses, and certainly does not “further the goal of full, timely
   26   discovery and provide all parties with adequate notice of and information with which
   27   to litigate their cases.” Id. Because none of these theories were previously disclosed,
   28   this Court should preclude Nichia from relying on them.
                                                -1-
             DEF’S MOTION TO PRECLUDE EXPERT REPORT OF GERSHOWITZ IN PART
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    1   II.      BACKGROUND
    2             On June 29, 2020, the parties filed a Fed. R. Civ. P. 26(f) Joint Report, Dkt.
    3   No. 46, in which the parties adopted Judge Guilford’s Standing Patent Rules (“Rules”)
    4   2.1, 2.2, and 4.1.2 for Nichia’s infringement contentions. Id. at 3-4 and n.1. Rule 2.1
    5   sets forth the specific disclosure requirements for a plaintiff’s infringement
    6   contentions.
    7            A.       Nichia’s Written Discovery Responses
    8             On March 26, 2021, Nichia served its final infringement contentions. See Dkt.
    9   No. 112-13 (“IC”). Nichia accused hundreds of Feit Electric filament products and
   10   grouped them into two categories based exclusively on shape, namely: “Accused
   11   Straight-Filament Products” and “Accused Curved-Filament Products.” See id.
   12             During fact discovery, Feit Electric propounded discovery requests relating to
   13   Nichia’s representativeness theory. None of Nichia’s responses differentiated between
   14   the Accused Straight-Filament Products and Accused Curved-Filament Products. For
   15   example, for Feit Electric Interrogatory No. 16, requesting that Nichia “[f]or each
   16   Accused Product, identify all center portions including their beginning, end, and any
   17   components within each,” Nichia’s original and first and second supplemental
   18   responses made no distinction as to the boards of the Accused Straight-Filament
   19   Products and Accused Curved-Filament Products. Kal K. Shah Declaration (“Shah
   20   Decl.”), Ex. A (Nichia’s Fourth Supplemental Response to Feit Electric’s Third Set
   21   of Interrogatories). Nichia further noted that “for the Accused Curved-Filament
   22   Products, the geometric center of the board is the same regardless of the configuration
   23   of the flexible LED filament.” Id. at 48 (Nichia’s 1st Supp. Response to Interrogatory
   24   No. 16); see also id. at 30-40 and 48-67 (Nichia’s Original and Supp. Responses to
   25   Interrogatory Nos. 13, 17, 18, 19).
   26             Additionally, Feit Electric served several interrogatories requesting Nichia’s
   27   application of the claim limitation “a wavelength conversion member formed unitarily
   28   with a transparent member.” See, e.g., id. at 30-31, 48, and 55 (Feit Electric
                                            -2-
           DEF’S MOTION TO PRECLUDE EXPERT REPORT OF GERSHOWITZ IN PART
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    1   Interrogatory Nos. 13, 17, 18). For example, Interrogatory No. 13 requested that
    2   Nichia “[i]dentify with specificity any methodologies or tests that Nichia asserts are
    3   applicable for determining whether a member is . . . a wavelength conversion member
    4   formed unitarily with a transparent member. . ..” Id. at 30-31. Nichia did not address
    5   any methodologies or tests regarding light emission of separate wavelength
    6   conversion members formed unitarily with a transparent member on the first and
    7   second surfaces of the board nor how to determine whether such members function in
    8   unison. Id. at 31-40. Likewise, Nichia’s original and first and second supplemental
    9   responses to Feit Electric Interrogatory No. 18, requesting that Nichia “[i]dentify with
   10   specificity any alterations to the light emanating from each LED in the accused
   11   products . . .”, did not explain light emission of separate wavelength conversion
   12   members formed unitarily with a transparent member on the first and second surfaces
   13   of the board nor did it mention how such members allegedly function in unison. Id. at
   14   55-64. Nichia’s responses to Interrogatory No. 19, requesting Nichia to “[i]dentify
   15   with specificity the makeup of ‘yellow wavelength conversion member’ identified on
   16   A24 of Nichia’s infringement contentions . . .” were similarly lacking any such
   17   allegations. Id. at 64-67.
   18            B.       The Gershowitz Report
   19             Nichia served the Opening Expert Report of Mr. Gershowitz Regarding
   20   Infringement on December 7, 2021. Shah Decl., Ex. B (Gershowitz Report). Feit
   21   Electric promptly objected to the Gershowitz Report as it inappropriately introduced
   22   new infringement theories. Dkt. No. 255-2 (12/29/21 email from Shah to Parker).
   23            First, relating to representativeness, Nichia’s IC and other written discovery
   24   rested on a single, repeated foundation: that the components of all the Accused
   25   Products are the same, and allegedly infringe in the same way as a result. See, e.g.,
   26   Dkt. No. 112-13 at 5. Then, for the first time in this case, through the Gershowitz
   27   Report, Nichia materially altered its position and opined, for example, that
   28
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           DEF’S MOTION TO PRECLUDE EXPERT REPORT OF GERSHOWITZ IN PART
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    1                                   admitting now that
    2
    3                                                               and
    4
    5
    6                                                                                Gershowitz
    7   Report at ¶ 93.
    8             Second, for all Accused Products, regarding limitation 1.3 of claim 1 directed
    9   to “a wavelength conversion member formed unitarily with a transparent member that
   10   seals the plurality of light emitting element chips,” Nichia’s infringement theory
   11   clearly treated this limitation as a single component. To that end, Nichia’s IC
   12   provided:
   13            In the accused products, the light emitting element chips (e.g., LED
                 chips) are surrounded by a combination of yellow wavelength
   14
                 conversion member (a component that converts wavelength) and
   15            transparent member (a component that allows light to pass through).
                 This combination of yellow wavelength conversion member and
   16
                 transparent member is a single component that both converts
   17            wavelength and allows light to pass through. For instance, the filaments
                 include a phosphor in a transparent resin that seals the LED chips.
   18
        IC at IC Ex. A at A24 and IC Ex. B at B10 (emphases added).1,2 Nichia also included
   19
        vaguely annotated cross-sectional images of G2560W/950CA/FIL/3(W) (an Accused
   20
        Straight-Filament Product) and LUNA/7/SMK/FIL (an Accused Curved-Filament
   21
        Product), shown below, to ostensibly illustrate its position for this limitation. Nichia
   22
   23
        1
          Unless otherwise indicated, all emphases are added.
   24   2
          The Shah Decl. attached hereto labels the attached Exhibits using an alphabetical A,
   25   B, C … scheme. Nichia’s IC contains infringement claim charts that are also labeled
        using the same alphabetical scheme for the charts. Thus, to minimize confusion,
   26   throughout this Memorandum, when referring to the specific infringement claim
   27   charts contained within the IC, Feit Electric will be using “IC Ex. __” format, to
        distinguish from when Feit Electric is otherwise referring to exhibits attached to the
   28   Shah Decl.
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            DEF’S MOTION TO PRECLUDE EXPERT REPORT OF GERSHOWITZ IN PART
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 1   never alleged that it included within this limitation instances where there were two
 2   separate such members or include any corresponding explanation of the functional
 3   relationship of the separate members on the first and second surfaces of the board or
 4   their relative light emission properties.
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19   Id.3
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     3
21     Feit Electric disputes Nichia’s infringement contention of this claim limitation on
     other grounds as well. The images Nichia relies on demonstrate non-infringement
22   because the substances identified are, by Nichia’s own admission, distinctly
23   identifiable components, namely, resin, phosphor and air bubbles. This is a
     wavelength conversion member (resin) and a transparent member (phosphor) and not
24   a wavelength conversion member formed unitarily with a transparent member, as is
25   clear from the separation of components and inclusion of bubbles. That is, the depicted
     materials are merely the solid form of the viscous wavelength conversion member and
26   transparent member, there have been no formations to make this a single component
27   that both transforms wavelength and allows light to pass as the Court construed this
     limitation. Further, there is a clear distinction between the top and bottom, also
28   weighing against their new positions on those units acting together.
                                               -5-
         DEF’S MOTION TO PRECLUDE EXPERT REPORT OF GERSHOWITZ IN PART
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 1             Similarly, for all Accused Products, Nichia’s contentions for limitation 1.8 of
 2   claim 1 contained the following description:
 3            In the accused products, the wavelength conversion member is
              provided on the first surface side and the second surface side, the
 4
              wavelength conversion member is elongated in the longitudinal
 5            direction when viewed in plan view of the first surface side of the board.
 6            See images with respect claim elements 1.1-1.3 above, which show the
              first and second surfaces of the board, and the relative location of the
 7            wavelength conversion member.
 8            In particular, the yellow encapsulant material is a single component
 9            that both converts wavelength and allows light to pass through. The
              encapsulant material on both sides of the board is connected to each
10            other (e.g., by resin coating the sides and/or ends of the board). To the
11            extent there are one or more physical or compositional discontinuities
              between the encapsulant on the top and bottom, the encapsulant
12            material is still provided on both sides as the claim requires.
13
     Id., IC Ex. A at A37 and IC Ex. B at B17.
14
              In contrast, the Gershowitz Report presented new opinions regarding the
15
     alleged claimed member, attempting to sweep into its claim scope instances of more
16
     than one alleged member, i.e., one on each of the first and second surfaces of the
17
     board, as well as providing new infringement theories based on their relative light
18
     transmission properties. Mr. Gershowitz opined that
19
20
21
               and more egregiously, that
22
                                                     Gershowitz Report. at ¶ 150. These new
23
     theories,
24
                            , improperly expand the scope of Nichia’s patent claims, as this theory
25
     was never disclosed in either Nichia’s contentions or any subsequent written
26
     discovery.
27
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                                                    -6-
        DEF’S MOTION TO PRECLUDE EXPERT REPORT OF GERSHOWITZ IN PART
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 1            Third, Nichia’s IC included very limited disclosure as to claims 23 and 26.
 2   Nichia’s IC identified a subset of products and then made the blanket statement that
 3   “[a]s shown in the figures below, the support leads in such bulbs extend from the
 4   support base towards the pair of metal plates.” IC at 7. But such disclosure was merely
 5   a recitation of the pertinent claim limitation. Compare, e.g., id. with Dkt. No. 1-1 (the
 6   ’734 patent) at 16:58-59 (claim 23) (“wherein the support leads extend from the
 7   support base towards the pair of metal plates”) and 17:39-40 (claim 26) (same). The
 8   Gershowitz Report, on the other hand, improperly broadened Nichia’s conclusory
 9   disclosure by introducing, for the first time, claim charts in a comprehensive context,
10   with new, annotated images. See, e.g., id. at Claim Chart Ex. CC-01 at 64 and 66-68.
11   III.     LEGAL STANDARDS
12            A.       Adopted Rules for Infringement Contentions
13            In the Joint Rule 26(f) Report (Dkt. No. 46), the parties adopted the Rules for
14   Nichia’s IC. Rule 2.1 provides that a plaintiff’s infringement contentions shall contain
15   the following:
16            2.1.1 Each claim of each patent in suit that is allegedly infringed by
              each opposing party, including for each claim the applicable statutory
17
              subsections of 35 U.S.C. § 271 asserted.
18            2.1.2 Separately for each asserted claim, each Accused Instrumentality.
19            This identification shall be as specific as reasonably possible.
20            2.1.3 A chart identifying specifically where each limitation of each
              asserted claim is found within each Accused Instrumentality, including,
21            for each limitation that such party contends is governed by 35 U.S.C. §
22            112(6)/(f), the identity of the structure(s), act(s), or material(s) in the
              Accused Instrumentality that performs the claimed function, and
23            whether each limitation of each asserted claim is alleged to be literally
24            present or present under the doctrine of equivalents in the Accused
              Instrumentality . . . .
25
26            B.       Standard for Precluding Expert’s Theories Not Previously Set

27                     Forth in Infringement Contentions

28            “District courts have concluded that expert reports may not introduce theories
                                                  -7-
        DEF’S MOTION TO PRECLUDE EXPERT REPORT OF GERSHOWITZ IN PART
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 1   not set forth in contentions.” Signal IP v. Nissan N. Am., Inc., LA CV14-02962 JAK
 2   (JEMx), 2016 WL 4923575, at *2 (C.D. Cal. Mar. 14, 2016); see ASUS Comput. Int’l
 3   v. Round Rock Research, LLC, 12–cv–02099 JST (NC), 2014 WL 1463609, at *1
 4   (N.D. Cal. Apr. 11, 2014) (“A party may not use an expert report to introduce new
 5   infringement theories . . . not disclosed in the parties’ infringement contentions.”).
 6   Infringement contentions “require parties to crystalize theories of the case early in the
 7   litigation and to adhere to those theories once they have been disclosed,” in order to
 8   “further the goal of full, timely discovery and provide all parties with adequate notice
 9   of and information with which to litigate their cases.” KlausTech, 2018 WL 5109383,
10   at *8 (striking new infringement theories from expert report).
11            Courts may strike from expert reports or otherwise preclude a party arguing
12   infringement opinions that do not track or broaden theories found in a plaintiff’s
13   infringement contentions. Apple Inc. v. Samsung Electronics Co., CV 11–1846 LHK
14   (PSG), 2012 WL 2499929 (N.D. Cal. June 27, 2012) (striking infringement theories
15   never previously in infringement contentions); ASUS Comput., 2014 WL 1463609, at
16   *1 (striking from expert report new infringement theories and infringement theories
17   based on “a placeholder in [ ] contentions . . . that generally asserts [ ] infringement.”);
18   Phigenix, Inc. v. Genentech, Inc., 783 Fed. Appx. 1014, at *1020 (Fed. Cl. Sept. 5,
19   2019) (affirming district court’s order striking Phigenix’s expert infringement
20   opinion); Polaris PowerLED Technologies, LLC v. VIZIO, Inc., SACV 18-1571 JVS
21   (DFMx), 2020 WL 4258663, at *3-4 (C.D. Cal. May 14, 2020) (striking from expert’s
22   report new “detailed, limitation-by-limitation analysis” as to previously asserted
23   claims); Signal IP, 2016 WL 4923575, at *2 (striking portion of expert report
24   introducing new theory of “hysteresis” which was not found in infringement
25   contentions); Dynetix Design Sols., Inc. v. Synopsys, Inc., C11–5973 PSG, 2013 WL
26   4537838, at *1 (N.D. Cal. Aug. 22, 2013) (striking theories in expert report not
27   included in plaintiff’s infringement contentions); KlausTech, 2018 WL 5109383,
28   at *8 (same). In determining whether to strike an expert’s testimony based on a failure
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        DEF’S MOTION TO PRECLUDE EXPERT REPORT OF GERSHOWITZ IN PART
     4895-7991-7835v4/106220-0002                                                20-cv-00359
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 1   to properly disclose an infringement theory, the “dispositive inquiry . . . is . . . whether
 2   the allegedly undisclosed theory is in fact a new theory . . . that was not previously
 3   identified in the plaintiff’s contentions.” Id., at *8 (citing Finjan, Inc. v. Symantec
 4   Corp., 2018 WL 620169, at *2 (N.D. Cal. Jan. 30, 2018) (granting motion to strike
 5   portions of an expert report)).
 6   IV.      ARGUMENT
 7            A.       Nichia Should Be Precluded from Pursing Theories in the
 8                     Gershowitz Report that It Failed to Previously Disclose
 9            Nichia’s reports do not merely expand upon or naturally apply previously
10   disclosed theories with the benefit of expert input. Rather Nichia, through the
11   Gershowitz Report, has now presented entirely new theories and/or bases, well after
12   the parties engaged in extensive discovery based on the twice-previously confirmed
13   theories. Nichia has chided Feit Electric for purportedly not being forthcoming. Now,
14   however, Nichia is the one who seeks to add new positions at the last minute so as to
15   unduly prejudice Feit Electric.
16            The Court should preclude Nichia from pursuing three previously undisclosed
17   theories from Mr. Gershowitz’s Report: (1) Accused Products representativeness
18   theories that contradict Nichia’s IC, namely that
19
20                                                                 (2) a new light emission theory
21   relating to the claimed wavelength conversion member (see, e.g., id. at ¶¶ 149-150);
22   and (3) all theories relating to claims 23 and 26 (see, e.g., id. at ¶¶ 116, 118, 178; id.
23   at Claim Chart Ex. CC-01 at 64 and 67-68; Claim Chart Ex. CC-18 at 63 and 66-67).
24                     1.           The Gershowitz Report Includes Undisclosed and New Bases
25                                  for Nichia’s Representativeness Theory without Adequate
26                                  Notice to Feit Electric
27            Nichia’s IC grouped hundreds of Feit Electric filament products into two
28   groups based on the shape of the LED filament, namely: “Accused Straight-Filament
                                            -9-
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 1   Products,” i.e., those with a linear filament, and “Accused Curved-Filament
 2   Products,” i.e., those with a curved or non-linear shaped filament. See IC. Nichia
 3   chose these as the basis of its representative products theory and did so despite Feit
 4   Electric’s early challenge that these categories were insufficient and unworkable in
 5   light of the scope of the claims at issue. Dkt. No. 50 and 55. Nichia disagreed and
 6   insisted on pursuing this course, opposing Feit Electric’s motion and proceeding
 7   throughout the matter with the claim that straight or linear products were all the same
 8   and curved or non-linear product are all the same. Indeed, Nichia’s IC and written
 9   discovery expressly relied on its repeated allegation that the components of all the
10   Accused Products are the same, and allegedly infringe in the same way as a result. To
11   that end, Nichia’s IC asserted that:
12                     All of the accused products are LED filament-style bulbs,
                       and all share the same components, which are common to
13
                       LED filament-style bulbs generally. With reference to the
14                     corresponding claim elements for claim 1, these
                       components are: a bulb (element 1.4), a base (element 1.6),
15
                       an LED filament (elements 1.1-1.3 and 1.7-1.10), and
16                     support structures (elements 1.5 and 1.11), … Because the
                       components are the same in all Feit LED filament-style
17
                       bulbs (they do not materially differ with respect to the
18                     Straight-Filament Claims or the Curved-Filament
                       Claims), the annotations Nichia provides in the
19
                       accompanying charts can be applied, mutatis mutandis, to
20                     each of the accused products … The Feit LED filament-
21                     style bulbs not explicitly charted are represented by the
                       representative, charted products because they have the
22                     same components (a bulb, a base, an LED filament, and
23                     support structures), and the same aspects of those
                       components are alleged to infringe in the same way for
24                     every accused product….
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                                                 - 10 -
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 1   Id.4,5
 2            Nichia did not independently chart the Accused Products, but instead asserted
 3   that “the annotations Nichia provide[d] in the accompanying charts can be applied,
 4   mutatis mutandis, to each of the accused products.” See id. (Further providing that
 5   “[t]he Feit LED filament-style bulbs not explicitly charted are represented by the
 6   representative, charted products because they have the same components (a bulb, a
 7   base, an LED filament, and support structures), and the same aspects of those
 8   components are alleged to infringe in the same way for every accused product.”).
 9   Nichia repeated those same bases when defending against Feit Electric’s challenge to
10   its reliance on representative products to drastically reduce its workload, arguing for
11   example that “these products have the same structural characteristics and features”
12   and that “for all purposes relevant to the asserted patent claims, these [represented]
13   products also have the same structures and components as the charted products.” See
14   Dkt. No. 52 at 7-8; see also id. at 9 (“[T]he hundreds of ‘represented’ Accused
15   Products have the same structures as the ‘representative’ products included in the
16   claim charts.”), 10 (“[T]he Accused Products have the same infringing structures and
17   components and infringe the asserted claims in the same way.”), 12 (“Comparison of
18   these images to the representative charted products shows that these products are, for
19   all relevant purposes, substantially identical.”). Relying in turn on Nichia’s
20   representations, the Court denied Feit Electric’s motion. See Dkt. No. 59. The
21   litigation then proceeded with Nichia taking full advantage of its use of a handful of
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23
     4
       Nichia also cites in its IC to the Court’s order on Feit Electric’s Motion to Strike that
24   highlights the same: “The claim charts allege that each accused product has the same
25   infringing structure − i.e., a filament with two regions of LED chips surrounded by
     a yellow wavelength conversion member.” IC at 6 (citing Dkt. No. 59 at 5-6).
26   5
       Nichia made this same representation in its Opposition to Feit Electric’s Motion to
27   Strike. Dkt. No. 52 at 10 (“As the PICs show in each case, the Accused Products have
     the same infringing structures and components and infringe the asserted claims in the
28   same way.”); id. at 15 (same).
                                                - 11 -
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 1   “representative” products, based on its allegations that the relevant components of the
 2   Accused Products are the same.
 3            Nichia’s assumptions, as Feit Electric warned from the start, are untrue.
 4   Recognizing this fatal fact, Nichia now attempts to salvage its representativeness
 5   theory through ambush, namely by revising its position at the eleventh hour through
 6   the Gershowitz Report. Specifically, the Gershowitz Report concedes Feit Electric’s
 7   earlier assertions, but seeks to simply disregard them out of hand no doubt because
 8   Feit Electric did not prevail on its prior motion. But that is the precise reason that
 9   Nichia should not now be able to change its position.
10             For instance, whereas Nichia previously stated that “the components are the
11   same in all Feit LED filament-style bulbs (they do not materially differ with respect
12   to the Straight-Filament Claims or the Curved-Filament Claims),” see IC at 5, Mr.
13   Gershowitz now admits
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19                                                             Importantly, the identified
20   materials are distinctly different, particularly as it relates to light transfer and
21   transmission. Similarly, Mr. Gershowitz asserts that:
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23                  and further notes that
24
25                                                            Yet, he offers no explanation
26   as to how this can still be qualified as “support leads” or the corresponding impact on
27   the “portions”—key distinctions that Feit Electric cautioned weighed against using
28   straight and curved-shaped boards as the basis of representativeness. See, e.g., Dkt.
                                            - 12 -
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 1   No. 1-1 at 15:12-21 (board limitation), 15:24-26 (wavelength conversion member
 2   limitation), 15:40-47 (sets limitations).6 Nichia cannot now change its position.
 3            The Gershowitz Report does not stop there. Through Mr. Gershowitz, Nichia
 4   then attempts to unilaterally write-off the distinctions that Nichia previously claimed
 5   did not even exist. For instance, Mr. Gershowitz argues,
 6
 7                  Gershowitz Report at ¶ 237. Nichia, however, asserted that the nature and
 8   shape of the board is precisely what made them representative. Nichia even
 9   distinguished prior art on this ground in response to Feit Electric’s interrogatories. See
10   Shah Decl., Ex. A at 2-30 (Nichia’s Response to Feit Electric Interrogatory No. 12).
11   Mr. Gershowitz now, untenably, suggests that the boards – a central component of the
12   claims – are different, but that the differences can be disregarded. The Gershowitz
13   Report takes things even further, relying on pure speculation, when opining that
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17                                                                Id.
18            While Feit Electric has long argued that there are many differences, and that
19   those differences are indeed germane to the infringement analysis, see, e.g., Shah
20   Decl., Ex. C (Feit Electric’s First Supplemental Response to Nichia Interrogatory
21   No. 9), Nichia chose to ignore such distinctions as a matter of litigation strategy.
22   Nichia should not be able to now concede specific differences it claimed did not exist
23   before, i.e., essentially adding more variables into the representativeness inquiry, but
24
     6
25    The material of a board does in fact impact the infringement analysis. Whether a
     board is composed of a transparent, opaque, or reflective material impacts, for
26   example, whether a wavelength conversion member is necessary, and certainly
27   impacts whether a wavelength conversion member formed unitarily with a transparent
     member is even useful. The material is also directly at issue in asserted claims 1, 17,
28   and 18.
                                            - 13 -
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 1   then cavalierly dismiss them via previously undisclosed and newly fabricated
 2   positions from Mr. Gershowitz. Until the Gershowitz Report, Nichia never disclosed
 3   any infringement theory that identified these differences; as noted above, Nichia
 4   expressly relied on their similarities in its attempts to establish representativeness and
 5   infringement.
 6            Nichia should not be permitted to shift its position this late in the case, and
 7   discount such a shift based entirely on Feit Electric’s previous challenges to
 8   representativeness being denied. To the contrary, Nichia is required to stick to the
 9   positions it represented to this Court and took throughout the proceeding that led to
10   this Court’s prior rulings in its favor. Indeed, Nichia’s conduct flies in the face of both
11   the letter and spirit of the Local Patent Rules, which require parties to “crystalize
12   theories of the case early in the litigation and to adhere to those theories once they
13   have been disclosed,” in order to “further the goal of full, timely discovery and
14   provide all parties with adequate notice of and information with which to litigate their
15   cases.” KlausTech, 2018 WL 5109383, at *8. Nichia chose to challenge Feit Electric’s
16   repeated admonitions and corresponding motion that its representative selection was
17   unsustainable. Having taken certain positions in order to prevail earlier in the case, it
18   should not be permitted to now set aside those positions and unwind the consequences
19   of its actions. Nichia argued its reliance on representativeness based on straight and
20   curved products was proper because the components were all the same. They are not,
21   as their own expert now admits. Yet, their expert seeks to nevertheless assert
22   representativeness on the same ground.
23            Nichia’s failure to previously disclose its theory of representativeness, despite
24   these differences, immensely prejudices Feit Electric. Allowing this theory into the
25   case now, deprives Feit Electric of the numerous defenses and challenges to
26   representativeness and, therefore infringement and validity, that otherwise would have
27   been available had Nichia specifically identified the differences and addressed how
28   the charted products were representative irrespective of the differences. For instance,
                                            - 14 -
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 1   based on these differences, Feit Electric might have pursued additional defenses under
 2   35 U.S.C. §112, because Nichia argued that all of the products were comprised of the
 3   same components. Nichia also avoided corresponding claim charts and infringement
 4   disclosures—for which it carries the sole burden—stemming from these differences.
 5   For instance, the board and wiring are express aspects of claim limitations and produce
 6   certain results as to light output and structure, respectively. Yet, Nichia provided no
 7   basis for infringement despite the variances amongst the boards and wiring, and Feit
 8   Electric is now faced with an admission of a distinction between these elements
 9   without a corresponding disclosure of how there is infringement nonetheless. Nichia’s
10   last minute expert disclosure is improper, and its corresponding assertion of
11   representativeness cannot stand. Accordingly, Mr. Gershowitz should be precluded
12   from arguing that the components in the Accused Products are different, yet the
13   differences are immaterial such that the products are representative as categorized by
14   Nichia.
15                     2.           The Gershowitz Report Includes Undisclosed Theories
16                                  Regarding Light Emission of the Members on the First and
17                                  Second Surfaces of the Board
18            The Gershowitz Report also flip-flops on another key claim limitation. The
19   claims of the ’734 patent are clear that at issue is a single wavelength conversion
20   member formed unitarily with a transparent member that spans the first surface side
21   and the second surface side of the board. Dkt. No. 1-1 at 15:35-36 (“wherein the
22   wavelength conversion member is provided on the first surface side and the second
23   surface side…”). This singular member surrounding the board was emphasized by
24   Nichia as
25                                                                         See, e.g., Shah Decl.,
26   Ex. D (6/10/21 Matsushita Dep. Ex. 6).
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28
                                                      - 15 -
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 1            Nichia’s IC for limitation 1.8 of claim 1, directed to “the wavelength conversion
 2   member is provided on the first surface side and the second surface side . . ..” provided
 3   the following7:
 4            In the accused products, the wavelength conversion member is
              provided on the first surface side and the second surface side, the
 5
              wavelength conversion member is elongated in the longitudinal
 6            direction when viewed in plan view of the first surface side of the board.
              See images with respect claim elements 1.1-1.3 above, which show the
 7
              first and second surfaces of the board, and the relative location of the
 8            wavelength conversion member. In particular, the yellow encapsulant
              material is a single component that both converts wavelength and
 9
              allows light to pass through. The encapsulant material on both sides of
10            the board is connected to each other (e.g., by resin coating the sides
              and/or ends of the board). To the extent there are one or more physical
11
              or compositional discontinuities between the encapsulant on the top and
12            bottom, the encapsulant material is still provided on both sides as the
13            claim requires.

14   Dkt. No. 112-13 at A37 and B17. And as this Court previously recognized, “Plaintiff’s
15   contentions state for both groups that the ‘filaments within the accused products
16   include a board that is surrounded by a yellow sealing member.’” Dkt. No. 59 at 5
17   (citing Nichia’s initial infringement contentions at 17, 32, 94, 99). Thus, Nichia’s
18   contentions for this limitation are restricted to the distribution of a single wavelength
19   conversion member on the first and second surfaces of the board. Nichia further notes
20   that there may be physical or compositional discontinuities, but simply writes them
21   off without addressing their impact on claim application or product performance. That
22   is, it would be an issue for this Court or jury to determine if two distinct units with a
23   significant gap across virtually the entire board can still meet this limitation.
24            Mr. Gershowitz, however, opines on those omitted aspects, trying to combine
25   two separate members as merely “portions” of each other:
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     7
27    Nichia again, perhaps intentionally, fails to take it account the critical difference
     between “a wavelength conversion member” and “a wavelength conversion member
28   formed unitarily with a transparent member.”
                                            - 16 -
         DEF’S MOTION TO PRECLUDE EXPERT REPORT OF GERSHOWITZ IN PART
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10   Gershowitz Report at ¶ 150. Nichia’s IC make no assertion that somehow the physical
11   or compositional discontinuities                                Indeed, this suggestion
12   undermines the entirety of the claim as it suggests that a wavelength conversion
13   member formed unitarily with the transparent member may be unnecessary as perhaps
14   a physical or compositional discontinuity can                in the same capacity. At the
15   very least it suggests that somehow, at some undisclosed and unexplained level, the
16   wavelength conversion member formed unitarily with a transparent member causes
17   physical or compositional discontinuities to also convert and allow light to pass
18   through—a theory that is not only surprising and new, but scientifically unsustainable.
19            Here, the Gershowitz Report includes never-before-seen infringement theories,
20   and Nichia’s attempted “comparison” between its contentions and the report
21   underscores this fact. See Dkt. No. 255-2 (1/7/22 email from Parker to Papacostas).
22   For example, Nichia very clearly stated its theory that “[t]he yellow encapsulant
23   material is a single component that both converts wavelength and allows light to pass
24   through,” and that “[t]he encapsulant material on both sides of the board is connected
25   to each other.” IC Ex. A at A37; IC Ex. B at B17. But now, Mr. Gershowitz takes the
26   exact opposite position when opining that
27                                                                          they can infringe,
28   ostensibly because                                Gershowitz Report at ¶ 150. Not only is
                                              - 17 -
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 1   this theory new, but it directly contradicts Nichia’s previously disclosed theory of
 2   infringement, mandating preclusion.
 3            Nichia’s last-minute change again is incredibly prejudicial to Feit Electric. As
 4   an initial matter, had Nichia previously disclosed it was taking the position that two
 5   separate alleged wavelength conversion members somehow                                 Feit
 6   Electric would have challenged the ’734 patent further under 35 U.S.C. §112 for
 7   inadequate written disclosure and enablement. Indeed, no such teachings were
 8   disclosed in the ’734 patent. And of course, had Nichia previously disclosed that it
 9   was taking the position that entire portions of board could be uncovered with
10   encapsulant or that only the light emitting diodes be covered, this again would have
11   opened up an entire universe of additional prior art and non-infringement positions.
12   Additionally, this is a significant non-infringement position because Feit Electric’s
13   products do not meet this limitation as they employ two separate components, one on
14   either side, that is applied through a different method. See, e.g., Shah Decl., Ex. C at
15   5 (“The product has an extruded resin mixture applied independently and separately
16   on each side such that there are two separate units on opposing sides, not a single unit
17   as claimed.”). Indeed, in the majority of Accused Products, the two, separate
18   components do not touch and there are even visible areas of board where the element
19   is not present. This, of course, is not new and was readily viewable from the products
20   if Nichia did an actual pre-filing investigation. Feit Electric also put Nichia on notice
21   of this fact months ago. See id. Failing to do so, Nichia now attempts to force
22   infringement through Mr. Gershowitz arguing that
23                     . This is not what is claimed, nor is it what Nichia presented in its IC.
24   Nichia should be precluded from relying on this last-minute theory.
25                     3.           The Report Includes Undisclosed Theories as to Claims 23
26                                  and 26
27            Nichia deemed 15 Accused Products as “representative” of the Accused
28   Straight-Filament Products and Accused Curved-Filament Products. IC at 4; IC Exs.
                                          - 18 -
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 1   A and B. Nichia’s IC included 15 corresponding representative claim charts for claims
 2   1, 3, 4, 6, 7, 11-15, 17-22, 24, 25, and 27. Id. at IC Exs. A and B. In its IC, Nichia
 3   previously charted independent claim 27, which merely required that “one of the
 4   support leads is positioned between one of the metal plates and the support base.” Id.,
 5   IC Ex. A at A79, IC Ex. B at B34; Dkt. No. 1-1 at 18:37-38. Claim 26, by contrast,
 6   requires that all support leads “extend from the support base towards the pair of metal
 7   plates,” which is an entirely new requirement that implicates entirely new
 8   arrangements.8 Dkt. No. 1-1 at 17:39-40.
 9            Nichia’s IC included very limited disclosure as to claims 23 and 26 that was not
10   compliant with the Rules, because Nichia did not include claim charts for any accused
11   products for claims 23 and 26. Instead, for those claims, Nichia’s IC stated only that
12   “[a]s shown in the figures below, the support leads in such bulbs extend from the
13   support base towards the pair of metal plates,” merely parroting the claim language.
14   Nichia included only unannotated, plain images, failing to specifically identify in a
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      Dependent claim 23 adds this same claim limitation to independent claim 1. Dkt.
28   No. 1-1 at 16:57-59.
                                         - 19 -
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 1   single Accused Product where each limitation of claims 23 and 26 is found:
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16   See IC at 7-8. This is not enough. See Digital Reg of Texas, LLC v. Adobe Sys. Inc.,
17   CV 12-01971-CW (KAW), 2013 WL 3361241, at *3-4 (N.D. Cal. July 3, 2013)
18   (finding infringement contentions deficient that did not chart all asserted claims,
19   merely “parrot[ed]” the claim language, and “incorporate[d] [ ] screen slots in lieu of
20   explanatory text.”); see also Uniloc 2017 LLC v. Apple, Inc., 19-CV-01904-WHO,
21   2019 WL 8810168, at *10 (N.D. Cal. Dec. 16, 2019) (“Uniloc may not include
22   placeholders; infringement contentions are supposed to establish a basis for taking
23   discovery, not the other way around.”); ASUS Computer, 2014 WL 1463609, at *3
24   (“A patentee cannot include a placeholder in its contentions . . . and then later clarify
25   the exact infringement theory through an expert report.”). Judge Guilford’s Standing
26   Patent Rules, which Nichia is well aware of, see generally Dkt. No. 250-2 at Exhibit
27   A, require Nichia to provide “[a] chart identifying specifically where each limitation
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                                              - 20 -
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 1   of each asserted claim is found within each Accused Instrumentality . . . and whether
 2   each limitation of each asserted claim is alleged to be literally present or present under
 3   the doctrine of equivalents in the Accused Instrumentality.” Rule 2.1.3. Nichia did not
 4   do this.9
 5            Nevertheless, claims charts in the Gershowitz Report incorporate claims 23 and
 6   26. For example,
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       Nor did Nichia ever so much as hint at its newly disclosed theory when it
25   supplemented its deficient response to Feit Electric’s Interrogatory No. 20, which
     asked for Nichia to “identify with specificity the support function performed by the
26   support leads identified in Nichia’s IC, including but not limited to what they support,
27   the amount of support provided, and whether such support is necessary to the device,”
     and further requested that Nichia identify any documents supporting its position. See
28   Shah Decl., Ex. A at 67.
                                               - 21 -
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 1
 2   Gershowitz Report, Claim Chart Ex. CC-01 at 64. This material is completely new
 3   and not found in Nichia’s IC. This material is not mere elaboration on a previously
 4   disclosed theory, but rather Mr. Gershowitz has now provided a new theory regarding
 5   how Nichia applies its claim language regarding, for example, “support leads,” as well
 6   as what it means to “extend[] from the support base towards the pair of metal plates,”
 7   claim language that was not present in any of Nichia’s prior claim charts from its IC.
 8   Compare, e.g., IC Ex. A at A33 and IC Ex. B at B14, with Gershowitz Report, Claim
 9   Chart Ex. CC-01 at 64. There can be no dispute that this is an entirely new theory of
10   infringement for previously uncharted claims that was nowhere disclosed in Nichia’s
11   prior contentions. Nichia should be precluded from relying on this theory as well.
12   V.       CONCLUSION
13            For the foregoing reasons, Feit Electric respectfully requests that Nichia be
14   precluded from relying on the portions of the Gershowitz Report as set forth above.
15
16                                     Respectfully submitted,
17
18   DATED: January 31, 2022           STRADLING YOCCA CARLSON & RAUTH, P.C.
19
20                                     By: /s/ Salil Bali
                                           SALIL BALI
21                                         MATTHEW R. STEPHENS
22
23                                     BENESCH, FRIEDLANDER, COPLAN &
                                       ARONOFF LLP
24
                                       KAL SHAH
25                                     MIRCEA TIPESCU
26                                     SIMEON PAPACOSTAS
                                       KATHERINE A. SMITH
27
28
                                              - 22 -
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